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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION
SIEMENS PRODUCT LIFECYCLE
MANAGEMENT SOFTWARE INC.,
                                                 Case No.: 4:19-cv-00129
                     Plaintiff,

v.                                               JURY TRIAL DEMANDED

DOES 1- 150,

                     Defendants.


                                  Proposed Order on Extension

          By May 15, 2019, Siemens must amend the complaint to identify the defendants by the
 last five digits of their IP addresses and serve them.

        Signed the ___ day of _______________________, 2019.

                                                 ____________________________________
                                                             Lynn N. Hughes
                                                        United States District Judge
